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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

 MEDPACE, INC.
                                            Case No. 1:16cv00830
             Plaintiff,
                                            JUDGE BERTELSMAN
       vs.

 INSPIREMD, Ltd.
            Defendant.




              DEFENDANT INSPIREMD, LTD.’S MEMORANDUM
       OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
           AS TO PLAINTIFF’S AFFIRMATIVE CLAIMS FOR RELIEF



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        Defendant InspireMD, Ltd. (“Inspire”), by and through its undersigned counsel,

 respectfully submits this memorandum of law in support of its motion for summary judgment as

 to Plaintiff Medpace, Inc.’s (“Medpace”) affirmative claims pursuant to Fed. R. Civ. P. 56.

 I.     PRELIMINARY STATEMENT

        As far as Medpace’s affirmative claims are concerned, this is a straightforward breach of

 contract action in which Medpace seeks approximately $2 million in additional payments from

 Inspire for clinical trial services that Medpace allegedly rendered to Inspire pursuant to the terms

 of a Master Services Agreement (the “MSA”) and Task Order (the “Task Order” and,

 collectively with the MSA, the “Agreements”) that the parties executed in connection with a

 clinical trial (the “Trial”) of Inspire’s MGuard Prime Stent System (the “Stent”) in 2013.

        Medpace’s Second Amended Complaint (the “SAC”) asserts three causes of action --

 breach of contract, unjust enrichment and promissory estoppel -- all of which allege variations of

 the very same claims, seeking the very same damages, arising from Medpace’s contention that it

 is entitled to additional payments from Inspire for its alleged work on the Trial. Yet, whether or

 not Medpace is entitled to any additional payments from Inspire (beyond the more than $1.8

 million that Medpace concedes Inspire has already paid) is a question of law governed by the

 clear and unambiguous terms of the Agreements -- both of which have already been produced.

 Accordingly, Medpace’s claims are ripe for summary judgment. The Agreements either provide

 for the additional payments that Medpace seeks, or they do not. On the face of the Agreements,

 the answer is they do not. Thus, Inspire is entitled to summary judgment with respect to each of

 Medpace’s affirmative claims for relief.

        To begin, Inspire is entitled to summary judgment with respect to Medpace’s quasi-

 contract claims for unjust enrichment (Count Two) and promissory estoppel (Count Three)



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 because it is well-settled that the doctrines of unjust enrichment and promissory estoppel do not

 apply when a valid and enforceable contract governs the parties’ relationship. Here, there is no

 dispute that the Agreements are valid and legally enforceable. Medpace affirmatively alleged

 that the Agreements constitute “a contract” (Pressment Decl., Ex. A (SAC) ¶¶ 9, 11) and Inspire

 has specifically admitted that the “MSA and Task Order are valid and enforceable contracts and

 that their terms, as applicable, govern this dispute.” (Pressment Decl., Ex. B (Inspire’s Answer,

 Affirmative Defenses and Counterclaims (the “Answer and Counterclaims”)) at 7-8 ¶¶ 40, 45.)

 Summary judgment is warranted as to Medpace’s quasi-contract claims on this basis alone.

        Moreover, even were the enforceability of the Agreements in dispute -- and it is not -- the

 enforceability of a contract is an issue of law that may be properly resolved on a motion for

 summary judgment. See, e.g., Lowe’s Home Ctrs., Inc. v. LL & 127, Inc., 147 F. App’x 516,

 521-22 (6th Cir. 2005); Bruzzese v. Chesapeake Exploration, LLC, 998 F. Supp. 2d 663, 675

 (S.D. Ohio 2014). Here, there is no basis to find that either of the Agreements is unenforceable.

 Apart from the parties’ admissions, on their face, the Agreements satisfy all of the requirements

 for the finding of a valid and enforceable contract under Ohio law -- offer, acceptance,

 contractual capacity, consideration, manifestation of mutual assent, and legality of object and of

 consideration. See Kostelnik v. Helper, 770 N.E.2d 58, 61 (Ohio 2002).

        Even absent this black-letter law, Medpace’s quasi-contract claims would still fail. On its

 face, the Task Order’s Payment Schedule provides for a total of twenty-one potential Milestone

 Payments, in fixed amounts, to which Medpace could even possibly make a claim. Medpace has

 identified only four such Milestone Payments at issue here -- four invoices totaling $468,586 in

 alleged Quarterly Payments (the “Invoices”). Medpace concedes that the Invoices, along with

 interest and pass through costs (which Medpace’s disclosures reveal are $2,285.00) are the only



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 amounts “that Medpace contends it is owed under the MSA.” (Pressment Decl., Ex. I (Medpace’s

 Objections and Responses to Inspire’s First Set of Interrogatories (the “Interrogatory

 Responses”)) at 9.) (emphasis added.)

           The balance of the $1,496,336 in fees sought by Medpace -- more than 75% of its total

 damage claim -- does not correspond to any of the potential Milestone payments permitted under

 the Task Order’s Payment Schedule, but, rather, to alleged “Services rendered” outside of the

 Payment Schedule entirely.1 However, any attempt to recover such amounts -- under a theory of

 quasi-contract or otherwise -- is foreclosed by the express terms of the Agreements. Thus,

 Medpace’s attempt to look beyond the Payment Schedule for additional fees fails.

           Medpace’s remaining claim for breach of contract (Count One) -- by which Medpace

 seeks payment for the four Invoices totaling $468,586 and less than $3,000 in alleged pass

 through costs -- is similarly ill-fated. In fact, each of the Invoices for which Medpace seeks

 payment was issued after Inspire terminated the Task Order, in writing, on September 23, 2014

 (the “Termination Notice”). The Termination Notice has been produced and there is no dispute

 that Medpace received it. To the extent Medpace questions the effectiveness of the Termination

 Notice, that is an issue of law that may be properly decided on a motion for summary judgment.

 Yet, Medpace offers no legitimate basis to contest the effectiveness of the Termination Notice.

 Thus, Inspire is entitled to summary judgment on Medpace’s breach of contract claim as well.

          Accordingly, Inspire should be granted summary judgment as to Medpace’s claims.

 II.       FACTUAL BACKGROUND

           A.       The Parties

           Medpace is an Ohio corporation in the business of “providing services related to the


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       Given that the overwhelming majority of Medpace’s alleged damages is tied to its quasi-contract claims, a
       decision on the quasi-contract claims will go a long way toward positioning the remaining claims for mediation.

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 design and execution of clinical development programs . . . .” (Pressment Decl., Ex. A (SAC) ¶

 2; Ex. C (Medpace’s Reply to Counterclaims (“Reply”)) ¶ 9; Ex. D (MSA) at 1.) Inspire is an

 Israeli limited liability company in the business of developing and obtaining regulatory approval

 for medical devices. (Pressment Decl., Ex. A (SAC) ¶ 3; Ex. D (MSA) at 1.)

        B.      The Agreements

        In 2013, Inspire decided to enlist Medpace’s services to assist “with certain clinical

 trials” of new medical devices including, but not limited to, the Trial of the Stent. (Pressment

 Decl., Ex. D (MSA) at 1; Ex. E (Task Order) at 1.) To formalize their agreement, Inspire and

 Medpace executed the MSA dated May 21, 2013. (Pressment Decl., Ex. A (SAC) ¶ 11; Ex. D

 (MSA) at 1.) The MSA provided that the services to be performed by Medpace would be agreed

 upon and set forth in one or more task orders. (Pressment Decl., Ex. D (MSA) at 1.)

        The specific terms of Medpace’s engagement with respect to the Trial at issue --

 including a description of the services to be provided (the “Scope of Work”), the project

 milestones and expected completion dates (the “Project Schedule”), a detailed budget (the

 “Project Budget”) and a schedule of payments to be made if and when certain milestones were

 achieved (the “Payment Schedule”) -- were set forth in the Task Order dated June 12, 2013,

 which was signed by both parties and expressly incorporated the provisions of the MSA by

 reference. (Pressment Decl., Ex. E (Task Order) at 1-15.)

        C.      The Task Order’s Project Budget, Project Schedule and Payment Schedule

        The Trial of 445 patients was scheduled to commence in May 2013 and conclude in

 March 2016. (Id. at 10, 13.) Apart from detailing the Scope of Work, the Task Order set forth a

 Project Schedule and a Project Budget, which the parties agreed would be capped at $3,347,035.

 (Id. at 10-13.) The Task Order’s Payment Schedule required that Inspire pay Medpace’s “Direct

 Fees” pursuant to a schedule of twenty-one (21) potential Milestone Payments comprised of five

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 categories (the “Milestone Payments”): (1) a one-time payment due “Upon Execution” of the

 Task Order (the “Execution Payment”); (2) payments due to Medpace once a quarter (the

 “Quarterly Payments”); (3) payments tied to Medpace’s enrollment and completion of work on

 specific numbers of patients (the “Patient Related Payments”); (4) a one-time payment upon

 completion of a Database Lock (the “Database Lock Payment”); and (5) a one-time payment for

 “Delivery of Final Study Report” (the “Final Report Payment”). (Id. at 13.)

         Under the Task Order’s Payment Schedule, Quarterly Payments were due each quarter as

 long as the Task Order was in effect. Additional Milestone Payments were due if -- and only if --

 Medpace achieved the “Milestone” to which a particular Milestone Payment was tied as follows:




 (Id. at 1, 13.)

         Neither Medpace nor Inspire could change the details of the Task Order -- including the

 Project Budget, Payment Schedule, or Project Schedule -- without executing a written


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 amendment to the Task Order, known as a “Contract Amendment,” signed by both parties.

 (Pressment Decl., Ex. D (MSA) ¶ 3.) Similarly, the MSA provides that it “shall not be amended,

 modified, or supplemented in any way except in writing and signed by a duly authorized

 representative of [Inspire] and MEDPACE.” (Id. ¶ 19.) Finally, the MSA contains a merger

 clause, which states that the MSA represents “the full understanding of the Parties with respect to

 the subject matter hereof and supersedes all existing agreements and all other oral, written or

 other communications between the Parties . . . .” (Id.)

        Inspire retained the right to terminate the MSA and/or a task order “without cause, upon

 giving [Medpace] sixty (60) [days] notice of such termination.” (Id. ¶¶ 6(A), 6(B).) If Inspire

 elected to terminate a task order before it was completed, Inspire agreed to pay Medpace only for

 “Services rendered pursuant to the unfinished Task Order prior to such termination” and any

 “non-cancelable expenses incurred in connection with MEDPACE’s performance of Services”

 under the Task Order. (Id. ¶ 6(E) (emphasis added).)

        D.      Inspire’s Termination of the Task Order

        As of September 2014, Inspire had paid Medpace the Execution Payment and at least five

 Quarterly Payments due under the Payment Schedule. Yet, Medpace failed to satisfy any other

 Milestones for it to receive additional Milestone Payments under the Payment Schedule at that

 time. (Pressment Decl., Ex. I (Interrogatory Responses) at 7-8.) In fact, Medpace admits that it

 failed to meet the very first patient enrollment Milestone, which merely required that it enroll the

 first 85 patients in a planned 445 patient Trial. (Id. at 8.) As a result, Inspire terminated the Task

 Order, in accordance with Paragraph 6(B) of the MSA. (Pressment Decl., Ex. D (MSA) ¶ 6(B).)

        Specifically, by letter dated September 23, 2014, sent from Inspire’s outside consultant

 and project manager, Jen Foley, to Medpace’s Senior Director of Regulatory Affairs, Deborah

 Schmalz, Inspire advised Medpace that it was terminating the Trial. (Pressment Decl., Ex. F
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 (Termination Notice) at 1.) Consistent with industry practice, Inspire instructed Medpace to

 “effective immediately,” keep all work on the Trial “to a minimum, with the exception of safety-

 related issues” (as is required by law and/or regulations) -- ordering a “Complete freeze” with

 respect to virtually every task. (Id.) Medpace does not dispute that it received the Termination

 Notice. (Pressment Decl., Ex. I (Interrogatory Responses) at 4 (Response to Interrogatory No. 1);

 Ex. K (Medpace’s Supplemental Responses to Inspire’s First Set of Interrogatories, dated

 February 9, 2018 (the “Supplemental Interrogatory Responses”)) at 1-2).)

        Following its issuance of the Termination Notice to Medpace, Inspire made one

 additional Quarterly Payment to Medpace (Payment No. 11 (Quarterly Payment 6)), which was

 not scheduled to come due until November 30, 2014. (Pressment Decl., Ex. B (Answer and

 Counterclaims) at 26 ¶ 71; Ex. C (Reply) ¶ 71; Ex. K (Supplemental Interrogatory Responses) at

 1-2.) This is consistent with the MSA’s requirement that the termination of a task order be

 effective upon 60 days’ written notice. (Pressment Decl., Ex. D (MSA), ¶ 6(B).)

        E.      Medpace’s Subsequent Purported Termination of the Task Order

        On November 24, 2015 -- more than a year after Inspire issued its Termination Notice --

 Medpace sent a letter to Inspire by which Medpace purported to terminate the Task Order based

 on Inspire’s alleged breach of its payment obligations (the “November 2015 Letter”).

 (Pressment Decl., Ex. A (SAC) ¶ 29; Ex. G (November 2015 Letter).) Yet, Medpace does not

 allege that it ever sent Inspire a Notice of Default as would have been required under the MSA in

 the event of a payment default. (Pressment Decl., Ex. D (MSA), ¶ 6(C).)

        Instead, Medpace asserts that the Task Order was terminated as of the date of its November

 2015 Letter, which also demanded that Inspire remit a payment of $1,964,922 representing

 “payment of all outstanding invoices as well as all Services rendered pursuant to the unfinished

 Task Order.” (Pressment Decl., Ex. G (November 2015 Letter) at 1 (emphasis added); Ex. H
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 (Medpace’s Rule 26(a) Initial Disclosures (“Medpace’s Disclosures”) at 4.)

         However, the only “invoices” for which Medpace contends it is still owed payment are

 the four Invoices for Quarterly Payments identified in the SAC -- Quarterly Payments 7, 8, 9

 and 10 (Payment Nos. 13, 15, 17 and 19) -- totaling $468,586. (Pressment Decl., Ex. A (SAC)

 ¶¶ 24-25.) Those Invoices would only have come due after Inspire sent the Termination Notice

 to Medpace in September 2014. Medpace admits that Inspire made every payment to which

 Medpace could even arguably have been entitled under the Payment Schedule as of the date of

 the Termination Notice. (Pressment Decl., Ex. E (Task Order) at 13; Ex. C (Reply) ¶¶ 70-71.)

         Specifically, Inspire paid Medpace a total of $1,578,128 in service fees representing

 payment of the following Milestone Payments: the Execution Payment (Payment 1), Quarterly

 Payments 1-5 (Payments Nos. 2, 3, 5, 7 and 9) and an additional Quarterly Payment (Quarterly

 Payment 6 (Payment No. 11)) that would not even have come due until November 30, 2014.2

 (Pressment Decl., Ex. E (Task Order) at 13; Ex. C (Reply), ¶¶ 70-71.) The balance of

 $1,496,336 in fees sought by Medpace’s November 2015 Letter stem from alleged “Services

 rendered” that were not set forth in any of the Invoices at all. (Pressment Decl., Ex. H

 (Medpace’s Disclosures) at 4 citing SAC, Ex. D (November 2015 Letter).)

         F.       Procedural History

                  1.      Medpace’s Complaints And Inspire’s Motions To Dismiss

         In all, Medpace has filed three versions of its claims -- a complaint and two amended

 complaints. Each of the complaints asserts the very same causes of action set forth by the SAC --

 breach of contract, unjust enrichment and promissory estoppel -- arising from Medpace’s claim

 2
     The sum of: the Execution Payment ($502,055); and Quarterly Payments 1 ($286,172), 2 ($137,228), 3
     ($200,822), 4 ($150,617) 5 ($150,617) and 6 ($150,617) (Pressment Decl., Ex. E (Task Order) at 13) equals the
     total of $1,578,128 that Medpace concedes Inspire paid. (Pressment Decl., Ex. G (November 2015 Letter) at 3.)
     Inspire also paid Medpace $240,134 in “pass-through expenses.” (Pressment Decl., Ex. H (Medpace’s
     Disclosures) at 4 citing SAC, Ex. D (November 2015 Letter).)

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 that it is entitled to an additional $1,967,822.00 in payments from Inspire in connection with

 Medpace’s alleged work on the Trial. Inspire moved to dismiss Medpace’s claims on the

 pleadings on three occasions -- two of which achieved success. (See ECF Nos. 6, 15, 21.)

         Medpace filed an unopposed motion to amend its original pleading in response to

 Inspire’s initial motion to dismiss based on Medpace’s failure to name the correct party-in-

 interest.3 This Court then found that Medpace’s first amended complaint was deficient because

 Medpace’s breach of contract claim was insufficiently pled, and further cautioned the parties,

 with respect to Medpace’s quasi-contract claims, of their obligation “to ensure that their claims

 are ‘warranted by existing law or by a nonfrivolous argument for extending, modifying, or

 reversing existing law or for establishing new law.’” (See ECF No. 19 (Order) at 2.)

         Medpace’s SAC asserts the very same causes of action previously asserted in its prior

 complaints. The primary difference between the claims asserted in the SAC and the prior

 iterations of Medpace’s claims is the addition of detail revealing the “four quarterly payments”

 for which Medpace is seeking payment under its breach of contract claim -- the Invoices.

 (Pressment Decl., Ex. A (SAC) ¶ 24.) The SAC specifically identifies the Invoices as: “(1)

 3/19/15 invoice for $150,617.00; (2) 6/15/15 invoice for $150,617.00; (3) 8/30/15 invoice for

 $100,411.00; (4) 11/18/15 invoice for $66,941.00.” (Id. ¶ 25.) The SAC also continues to assert

 claims for unjust enrichment and promissory estoppel “to the extent [Inspire] claims that a valid

 and enforceable contract between Plaintiff and [Inspire] does not exist.” (Id. ¶¶ 40, 45.)

         Although Inspire moved to dismiss the SAC, the Court found that Medpace offered

 sufficient detail to proceed with its breach of contract claim and concluded that the dismissal of

 Medpace’s quasi-contract claims was not warranted “at this juncture of the case,” because,


 3
     Medpace originally named Inspire’s U.S. subsidiary, Inspire, Inc., as the defendant despite the fact that Inspire,
     Inc. was not a party to either of the Agreements at issue. (See ECF Nos. 6, 8.)

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 despite the fact that the parties “acknowledg[ed] that the contract between them appears fully

 enforceable, it is possible that the contract could be found unenforceable in the future.” (ECF No.

 24 (Order) at 1-2) (emphasis added).) Indeed, Medpace specifically argued that Inspire might

 “chang[e] course and repudiate[e] a concession it claims it will make in a brief, but not in a

 pleading.” (ECF No. 22 (Response to Motion to Dismiss SAC) at 15.)

        Thereafter, Inspire filed its Answer and Counterclaims. Inspire expressly admitted that it

 “does not dispute that the MSA and Task Order are valid and enforceable contracts and that their

 terms, as applicable, govern this dispute.” (Pressment Decl., Ex. B (Answer and Counterclaims)

 at 7-8 ¶¶ 40, 45 (emphasis added).) However, Inspire denied that Medpace is entitled to any

 further payments under the Agreements (or otherwise). (Id. ¶¶ 21; 22-26; 38.)

                2.      Discovery Completed.

        The parties have already served and exchanged responses to written discovery requests.

 Based on the pleadings and discovery completed, including Medpace’s: (1) Disclosures; (2)

 Interrogatory Responses; and (3) Objections and Responses to Inspire’s First Set of Requests For

 Production (“Document Request Responses”), it is clear that Inspire is entitled to summary

 judgment with respect to Medpace’s affirmative claims. Specifically, Medpace has admitted:

           The MSA and Task Order are valid and enforceable contracts. (Pressment Decl.,
            Ex. A (SAC) ¶¶ 11-12; Ex. B (Answer and Counterclaims) at 7-8 ¶¶ 40, 45);

           The only Milestone Payments for which Medpace is seeking payment are the four
            Invoices totaling $468,586 identified in Paragraphs 24 and 25 of the SAC.
            (Pressment Decl., Ex. A (SAC), ¶¶ 24-25; Ex. I (Interrogatory Responses) at 7, 9);

           Apart from the Invoices, the only other amounts “that Medpace contends it is owed
            under the MSA” are “interest, and pass-through costs.” (Pressment Decl., Ex. I
            (Interrogatory Responses) at 9 (emphasis added));

           The damages sought for alleged “pass-through costs” are limited to $2,285.00.
            (Pressment Decl., Ex. H (Medpace’s Disclosures) at 4, citing Ex. D to the SAC);


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               The remaining $1,496,336 in fees sought by Medpace do not correspond to
                any of the Payment Schedule’s Milestone Payments, but, rather, to alleged
                “Services rendered” outside of the Milestone Payments (Pressment Decl., Ex.
                H (Medpace’s Disclosures) at 4; Ex. G (November 2015 Letter) at 2-3);

               The parties did not execute a Contract Amendment at all, let alone one that
                altered the Payment Schedule to permit Medpace to seeks payments for alleged
                “Services rendered” outside of the Milestone Payments (Pressment Decl., Ex. J
                (Document Request Responses) at 10-11);

               In fact, Medpace’s total claim for an additional $1,964,922 in payments from
                Inspire, when added to the $1,818,262 that Medpace admits Inspire has already
                paid (inclusive of costs paid), would provide Medpace with total payments of
                $3,783,184 -- a windfall of nearly $150,000 more than Medpace would have
                been entitled under the agreed upon Project Budget capped at $3,639,976 had
                Medpace completed all of the work required of it under the Task Order in full.
                (Pressment Decl., Ex. H (Medpace’s Disclosures) at 4; Ex. G (November 2015
                Letter) at 1-3; Ex. E (Task Order) at 11-12);

               Yet, Medpace concedes that it did not satisfy a single Milestone tied to patient
                enrollment (Payment Nos. 4, 6, 8, 10, 12, 14, 16, 18) to which $1,199,914 of
                the possible $3,347,035 in potential Milestone Payments were tied. (Pressment
                Decl., Ex. E (Task Order) at 13; Ex. I (Interrogatory Responses) at 7-8);

               Medpace also makes no claim for Quarterly Payment 10 ($66,941); or the Final
                Study Report payment ($33,470) totaling $100,411 (Pressment Decl., Ex. A
                (SAC), ¶¶ 24-25; Ex. I (Interrogatory Responses) at 7, 9); and

               Given the Milestone Payments that Medpace concedes Inspire has already made
                ($1,578,128) and the Milestone Payments for which Medpace makes no claim
                ($1,300,325), out of the total possible Milestone Payments of $3,347,0394 set forth
                under the Task Order’s Payment Schedule, the total amount of Milestone Payments
                that Medpace could even potentially lay claim to in this action is $468,586.
                (Pressment Decl., Ex. A (SAC), ¶¶ 24-25; Ex. E (Task Order) at 11-12; Ex. H
                (Medpace’s Disclosures) at 4; Ex. I (Interrogatory Responses) at 7, 9.)

            Against this backdrop, Inspire now moves for summary judgment as to Medpace’s claims.

 III.       STANDARDS APPLICABLE TO THE MOTION

            Summary judgment is appropriate “where the pleadings, depositions, answers to

 interrogatories, admissions on file, and affidavits ‘show that there is no genuine dispute as to any


 4
        The Task Order’s Payment Schedule incorrectly computes the total potential Milestone Payments as
        $3,347,035.00 rather than $3,347,039.00. (Pressment Decl., Ex. E (Task Order) at 13.)

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 material fact and that the movant is entitled to a judgment as a matter of law.’” Stansberry v. Air

 Wisconsin Airlines Corp., 651 F.3d 482, 486 (6th Cir. 2011) (quoting Fed. R. Civ. P. 56(a)). A

 party may move for summary judgment “at any time until 30 days after the close of all

 discovery.” Fed. R. Civ. P. 56(b). Indeed, “[s]ummary judgment [is] . . . as an integral part of

 the Federal Rules . . . designed ‘to secure the just, speedy and inexpensive determination of every

 action.’” Cincom Sys., Inc. v. Novelis Corp., 581 F.3d 431, 435 (6th Cir. 2009).

        “‘The moving party has the initial burden of proving that no genuine issue of material

 fact exists,’ and the court must draw all reasonable inferences in the light most favorable to the

 nonmoving party.” Stansberry, 651 F.3d at 486; see Matsushita Elec. Indus. Co. v. Zenith Radio

 Corp., 475 U.S. 574, 587 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Once the

 moving party has met its burden, the nonmoving party cannot rest on the pleadings, but must

 present significant probative evidence in support of its case to defeat the motion for summary

 judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-51 (1986).

        The mere scintilla of evidence to support the non-movant’s position is insufficient to

 defeat summary judgment; rather a genuine dispute of material fact exists only if “there [is]

 evidence on which the jury could reasonably find for” the non-moving party. Id. at 252.

 IV.    ARGUMENT

        A.      Inspire Is Entitled To Summary Judgment With Respect To Medpace’s
                Claims For Unjust Enrichment (Count Two) And Promissory Estoppel
                (Count Three)

        As an initial matter, Inspire is entitled to summary judgment on Medpace’s quasi-contract

 claims for unjust enrichment and promissory estoppel because the pleadings and evidence

 adduced through discovery confirm that there is no genuine dispute that the parties’ relationship

 is governed by valid and enforceable contracts -- the Agreements. Under Ohio law, the doctrines

 of unjust enrichment and promissory estoppel do not apply when a valid and enforceable express

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 contract governs the parties’ relationship. Aultman Hosp. Ass’n v. Cmty. Mut. Ins. Co., 544

 N.E.2d 920, 924 (Ohio 1989); Bickham v. Standley, 917 N.E.2d 330, 335 (Ohio Ct. App. 2009);

 Wuliger v. Mfrs. Life Ins. Co., 567 F.3d 787, 799 (6th Cir. 2009); see O’Neill v. Kemper Ins.

 Cos., 497 F.3d 578, 583 (6th Cir. 2007).

        Thus, claims for unjust enrichment and promissory estoppel should be dismissed where

 there is no genuine issue of material fact that a contract governs the parties’ relationship. See

 O’Neill, 497 F.3d at 583 (affirming summary judgment on promissory estoppel claim where

 “[n]either party disputes the fact that an enforceable contract exists and governs the substance of

 this lawsuit.”); C. Norris Mfg., LLC v. BRT Heavy Equip., LLC, 2017 WL 1038958, at *10-11

 (N.D. Ohio Mar. 17, 2017); Premier Colorscan Instruments Pvt. Ltd. v. Q-Lab Corp., 2016 WL

 6124430, at *5 (N.D. Ohio Oct. 19, 2016) (summary judgment on unjust enrichment claim where

 “[t]here is no dispute that the parties’ relationship was governed by the Agreement; Plaintiff

 asserts it in its Complaint and Defendant admits it in its Answer.”); Bickham, 917 N.E.2d at 335.

        Here, Medpace’s unjust enrichment and promissory estoppel claims must be dismissed

 because there is no dispute that the MSA and Task Order are valid and enforceable contracts that

 governed the parties’ relationship. Indeed, Medpace plainly alleges that the parties “entered into

 a contract for [Medpace] to provide clinical trial services with respect to [Inspire’s] medical

 device . . . .” (Pressment Decl., Ex. A (SAC) ¶¶ 11-12.) Medpace’s acknowledgement of this

 fact is understandable. The MSA and Task Order satisfy all of the requirements of a binding and

 valid contract: offer, acceptance, contractual capacity, consideration, manifestation of mutual

 assent, and legality of object and of consideration. Kostelnik, 770 N.E.2d at 61.

        Medpace only asserts its claims in quasi-contract “in the alternative and/or to the extent

 that [Inspire] claims that a valid and enforceable contract between [Medpace] and [Inspire]



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 does not exist . . . .” (Pressment Decl., Ex. A (SAC) ¶¶ 40, 45) (emphasis added).) However,

 Inspire has made no such claim. Indeed, in its motion to dismiss the SAC, Inspire readily

 acknowledged that the Agreements are valid and enforceable contracts. (ECF No. 21-1 (Motion

 to Dismiss SAC) at 9, 18.) Although Medpace opposed Inspire’s motion by arguing, inter alia,

 that Inspire might “chang[e] course and repudiat[e] a concession it claims it will make in a brief,

 but not in a pleading” (ECF No. 22 (Response to Motion to Dismiss SAC) at 15 (emphasis

 added)), Inspire has now done just what Medpace asked of it -- Inspire admitted in its answer

 that “the MSA and Task Order are valid and enforceable contracts and that their terms, as

 applicable, govern this dispute.” (Pressment Decl., Ex. B (Answer and Counterclaims) at 7-8 ¶¶

 40, 45.) Thus, the validity and enforceability of the Agreements is not disputed.5

         Yet, even absent this black-letter law, Medpace would still be precluded from seeking

 additional payments from Inspire under theories of unjust enrichment or promissory estoppel

 based on the language of the Agreements. The MSA expressly requires that “all” of Medpace’s

 services with respect to Inspire’s “clinical trials” be conducted “in accordance with and subject to

 the terms of [the MSA][.]” (Pressment Decl., Ex. D (MSA) at 1) (emphasis added).) The MSA

 specifically required that any service fees be paid “pursuant to the Project Budget and Payment

 Schedules included in each Task Order.” (Pressment Decl., Ex. D (MSA) at 1; ¶ 4(A); Ex. E

 (Task Order) at 1.) The Task Order expressly states that the Project Budget is only “provided for

 cost analysis purposes.” (Pressment Decl., Ex. E (Task Order) at 1.) The actual payment terms

 were expressly governed “pursuant to the Payment Schedule.” (Id. (emphasis added).)

 5
     This Court previously denied Inspire’s motion to dismiss the quasi-contractual claims, stating “it is possible that
     the contract could be found unenforceable,” and citing Miami Valley Mobile Health Services, Inc. v. ExamOne
     Worldwide, Inc., 852 F. Supp. 2d 925 (S.D. Ohio 2012) (ECF No. 24 (Order) at 2). In that case, the defendant
     had not yet answered and it was therefore “not clear” whether the defendant conceded the validity and
     enforceability of the contracts. Id. at 939. Here, the parties have repeatedly admitted, in pleadings, that the
     MSA and Task Order are valid and enforceable. These admissions distinguish this case from Miami Valley, and
     render summary judgment appropriate on Medpace’s quasi-contract claims. O’Neill, 497 F.3d at 583; C.
     Norris, 2017 WL 1038958 at *10-11; Premier, 2016 WL 6124430 at *5; Bickham, 917 N.E.2d at 335.

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        Medpace does not dispute that it is seeking fees for its alleged provision of “clinical trial

 services” to Inspire. Thus, the terms of the MSA expressly govern this dispute and Medpace is

 precluded from seeking any payments beyond those permitted under the Task Order’s Payment

 Schedule. (Pressment Decl., Ex. D (MSA) at 1; ¶ 4(A); Ex. E (Task Order) at 1, 13.)

        Any claim that Medpace is entitled to payments outside of those permitted under the Task

 Order’s Payment Schedule (in quasi-contract or otherwise) is also precluded by the fact that the

 Agreements expressly require that any changes to the Payment Schedule or Project Budget be

 memorialized in a written Contract Amendment agreed to by both parties. (Pressment Decl., Ex.

 D (MSA) ¶¶ 3, 19; Pressment Decl., Ex. E (Task Order) ¶ 4.) Such terms are fully enforceable

 under Ohio law. Kelley v. Ferraro, 936 N.E.2d 986, 994 (Ohio Ct. App. 2010); Freeman-

 McCown v. Cuyahoga Metro. Housing Auth., 2000 WL 1594090, at *4 (Ohio Ct. App. Oct. 26,

 2000). Medpace readily concedes that a Contract Amendment “was not executed.” (Pressment

 Decl., Ex. J (Document Request Responses) at 10-11 (Response to Request No. 24).)

        Where, as here, a contract is fully integrated and represents the parties’ “full

 understanding” (Pressment Decl., Ex. D (MSA) ¶ 19; Ex. E (Task Order) ¶ 4), a plaintiff cannot

 proceed with claims in quasi-contract. Corp. Comm’n Servs. of Dayton, LLC v. MCI Comm’ns

 Servs., Inc., 2009 WL 3756274, at *19-21 (S.D. Ohio Nov. 9, 2009); Klaus v. Hilb, Rogal &

 Hamilton Co. of Oh., 437 F. Supp. 2d 706, 729-30 (S.D. Ohio 2006); Aultman Hosp., 544 N.E.2d

 at 924; Fontbank, Inc. v. CompuServe, Inc., 742 N.E.2d 674, 678-79 (Ohio Ct. App. 2000).

 Accordingly, Inspire is entitled to summary judgment as to Medpace’s quasi-contract claims.

        B.      Inspire Is Also Entitled To Summary Judgment With Respect
                To Medpace’s Breach of Contract Claim (Count One)

        Inspire is also entitled to summary judgment on Medpace’s breach of contract claim with

 respect to the four Invoices and the additional amounts set forth in Medpace’s November 2015


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 Letter that Medpace claims are owed for “Services rendered pursuant to the unfinished Task

 Order.” (Pressment Decl., Ex. A (SAC), ¶¶ 24-25; Ex. G (November 2015 Letter) at 1.)

                  1.      Inspire Is Entitled to Summary Judgment with Respect to the Invoices.

         As an initial matter, Inspire is entitled to summary judgment with respect to Medpace’s

 breach of contract claim for payment of the Invoices because each of the Invoices pertains to a

 time period that followed Inspire’s provision of its Termination Notice to Medpace.6

         Under Section 6(B) of the MSA, Inspire was entitled to “terminate any Task Order

 without cause upon giving MEDPACE sixty (60) [days] notice of such termination unless

 otherwise agreed to by the Parties.” (Pressment Decl., Ex. D (MSA) ¶ 6(B)).) Thereafter, Inspire

 was only obligated to pay Medpace for “Services rendered pursuant to the unfinished Task Order

 prior to such termination and any non-cancelable expenses incurred in connection with

 MEDPACE’s performance of Services” under the Task Order. (Id. ¶ 6(E) (emphasis added).)

         Here, Inspire properly exercised its rights to terminate the Task Order under Section 6(B)

 of the MSA by providing Medpace with the Termination Notice. (Pressment Decl., Ex. F

 (Termination Notice) at 1.) The Termination Notice is clear and unambiguous: it is addressed to

 Deborah Schmalz -- Medpace’s Senior Director of Regulatory Affairs -- and states, “effective

 immediately, please keep all [Trial] activity to a minimum, with the exception of safety-related

 issues which should be handled on a per-need basis.” (Id.) In fact, the Termination Notice

 ordered a “[c]omplete freeze” as to all but 4 of the 35 service categories -- permitting only safety

 related reporting activities to continue “on a per-need basis.” (Id. at 1-2.) Medpace admits that it

 received the Termination Notice, by email, on September 25, 2014. (Pressment Decl., Ex. K

 (Supplemental Interrogatory Responses) at 1-2.)


 6
     The payments are: (1) Quarterly Payment 7 ($150,617); (2) Quarterly Payment 8 ($150,617); (3) Quarterly
     Payment 9 ($100,411); and (4) Quarterly Payment 10 ($66,941) (Pressment Decl., Ex. E (Task Order) at 13.)

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         Medpace also admits that, at the time Inspire sent the Termination Notice to Medpace,

 Inspire had made every single payment to which Medpace could even arguably have been

 entitled under the Task Order’s Payment Schedule. (Pressment Decl., Ex. E (Task Order) at 13;

 Ex. C (Reply) ¶¶ 70-71.) Specifically, Inspire made the following Milestone Payments: the

 Execution Payment (Payment 1), Quarterly Payments 1-5 (Payments Nos. 2, 3, 5, 7 and 9).

 Inspire subsequently made an additional Quarterly Payment (Quarterly Payment 6 (Payment No.

 11)) that was not scheduled to come due until November 30, 2014.7 (Pressment Decl., Ex. G

 (November 2015 Letter); Ex. E (Task Order) at 13; Ex. C (Reply) ¶¶ 70-71.) Thus, Inspire

 satisfied its obligation, under Section 6(E) of the MSA, to pay Medpace for “Services rendered

 pursuant to the unfinished Task Order prior to [the] termination [of the Task Order].”

         What Medpace’s breach of contract claim with respect to the Invoices seeks is not

 payments owed for periods “prior to such termination[,]” but, rather, Quarterly Payments for

 periods which followed Inspire’s termination of the Task Order. (Id.) (emphasis added.) In fact,

 one of the Invoices for which Medpace seeks payment (Quarterly Payment 10 in the amount of

 $66,941) would not have become due until November 30, 2015 -- six days after Medpace claims

 that it terminated the Task Order.8 (Pressment Decl., Ex. A (SAC) ¶ 29; Ex. G (November 2015

 Letter).) 9 Medpace is not entitled to these payments.

         The mere fact that the Termination Notice was sent to Medpace at a different address


 7
     No Patient Related Payments ever became due. (Pressment Decl., Ex. I (Interrogatory Responses) at 8.)
 8
     In its discovery responses Medpace now claims that the fourth Invoice in the amount of $66,941 did not pertain
     to a Quarterly Payment (as alleged in Paragraph 24 of the SAC), but, rather, to the completion of the Database
     Lock. (See Pressment Decl., Ex. A (SAC), ¶¶ 24-25; Ex. I (Interrogatory Responses) at 6-7 (Response to
     Interrogatory No. 6).) Regardless, both of these payments would have only come due after Medpace itself
     contends that it terminated the Task Order. (Pressment Decl., Ex. E (Task Order) at 13.)
 9
     Medpace’s claim that it is entitled to interest at a rate of 18% per annum with respect to the Invoices pursuant to
     Section 4(D) of the MSA also fails. (Pressment Decl., Ex. A (SAC), ¶ 26.) Section 3 of the Task Order
     expressly states that “this Section 3 of this Task Order #1 shall control with regard to the payment terms under
     this Task Order” and does not provide for interest at any rate. (Pressment Decl., Ex. E (Task Order) at 2.)

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 than the one specified in the MSA’s notice provision does not alter this conclusion. (Compare

 Pressment Decl., Ex. D (MSA) ¶ 7 with Ex. F (Termination Notice) at 1.) Under Ohio law, strict

 compliance with a notice provision is not required for a contractual notice to be effective.

 Rather, failure to comply with a contractual notice provision may be “harmless if there is

 evidence of actual or constructive notice.” Daniel E. Terreri & Sons, Inc. v. Mahoning Cnty. Bd.

 of Comm’rs, 786 N.E.2d 921, 932 (Ohio Ct. App. 2003); Triangle Props. Inc. v. Homewood

 Corp., 3 N.E.3d 241, 257-58 (Ohio Ct. App. 2013); Stonehenge Land Co. v. Beazer Homes Invs.,

 L.L.C., 893 N.E.2d 855, 863-64 (Ohio Ct. App. 2008) (notice sent to different address than one

 specified in contract was effective). Medpace does not dispute that it received Inspire’s

 Termination Notice. (Pressment Decl., Ex. I (Interrogatory Responses) at 4.)

        Nor is the fact that the Termination Notice is not labeled a “Termination Notice” and

 states that Medpace should keep all work under the Task Order “to a minimum” a basis to

 dispute the effectiveness of the Termination Notice. Indeed, Inspire ordered a “complete freeze”

 as to everything but safety-related issues as is required by law. Yet, even were Medpace entitled

 to payment for work on safety-related issues, Medpace has now had three opportunities to allege

 that it performed such work -- it has never done so. Thus, Inspire is entitled to summary

 judgment as to Medpace’s breach of contract claim with respect to the Invoices.

                2.      Inspire Is Entitled to Summary Judgment with Respect to the
                        Remainder of Medpace’s Breach of Contract Claim.

        Even were this Court to find that a question exists as to the effectiveness of Inspire’s

 Termination Notice -- and, respectfully, it should not -- Medpace’s claim would still be limited

 to, at most, the four Invoices issued between the date of Inspire’s Termination Notice and the

 date on which Medpace contends that it terminated the Task Order (Payment Nos. 13, 15, 17

 (Quarterly Payments 7-9) and 20 (the Database Lock Payment)) -- the total of which is


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 $468,586.00. Inspire would be entitled to summary judgment as to the balance of Medpace’s

 breach of contract claim by which it seeks payment for alleged “services” beyond those invoiced

 under the MSA and Task Order. (Pressment Decl., Ex. G (November 2015 Letter) at 1.)

        Indeed, as was the case with Medpace’s quasi-contract claims, the clear and unambiguous

 language of the MSA expressly prohibits Medpace from seeking any amounts beyond those

 provided for under the Task Order’s Payment Schedule. The MSA expressly states that Inspire

 “agrees to pay MEDPACE for Services rendered pursuant to the Project Budget and Payment

 Schedules included in each Task Order.” (Pressment Decl., Ex. D (MSA), ¶ 4(A) (emphasis

 added).) The MSA’s merger and integration clauses further provide that the MSA represents

 “the full understanding of the Parties with respect to the subject matter hereof and supersedes all

 existing agreements and all other oral, written or other communications between the Parties,”

 and “shall not be amended, modified or supplemented in any way except in writing and signed

 by a duly authorized representative of [Inspire] and MEDPACE.” (Id. ¶ 19.)

        Any change to the Project Budget, Payment Schedule or Project Schedule had to be set

 forth in a “written amendment to the Task Order (a ‘Contract Amendment’).” (Id. ¶ 3.) Medpace

 readily concedes that the parties never executed a Contract Amendment. (Pressment Decl., Ex. J

 (Document Request Responses) at 10-11 (Response to Request No. 24).) Where, as here, the

 parties’ agreement is fully integrated into an unambiguous contract, a court must enforce the

 contract according to its plain language. Aultman Hosp., 544 N.E.2d at 924; Flynn v. State Farm

 Mut. Auto. Ins. Co., 2013 WL 950825, at *7 (S.D. Ohio Mar. 12, 2013). Thus, Medpace is

 precluded from recovering fees beyond those prescribed by the Task Order’s Payment Schedule.

        The fact that Medpace alleges that it -- and not Inspire -- terminated the Task Order does

 not give Medpace any right to seek payments beyond those provided for under the Task Order’s



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 Payment Schedule. The MSA’s “Termination” provision states that “[i]n the event of any

 termination of a Task Order before completion, [Inspire] agrees to pay MEDPACE for all

 Services rendered pursuant to the unfinished Task Order prior to such termination . . . .”

 (Pressment Decl., Ex. D (MSA), ¶ 6(E) (emphasis added).) Thus, even in the event that

 Medpace elected to terminate the Task Order, the terms of the Task Order -- including, but not

 limited to, the Payment Schedule -- would still have governed. Accordingly, at a minimum,

 Inspire is entitled to summary judgment with respect to the portion of Medpace’s breach of

 contract claim that seeks amounts beyond those set forth in the Invoices.

 V.     CONCLUSION

        For the foregoing reasons, Inspire respectfully requests that the Court grant Inspire’s

 Motion and: (1) dismiss each of Medpace’s affirmative claims with prejudice; or, in the

 alternative, (2) dismiss each of Medpace’s claims, except as to Medpace’s claim for payment of

 the Invoices along with such other and further relief as this Court may deem just and proper.

                                              Respectfully submitted,


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